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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

THOMAS CARPENTER,

               Plaintiff,

v.                                                               Case No. 8:19-cv-183-T-24 AAS

PLANTATION HOMEOWNERS, INC.,

               Defendant.

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                                             ORDER

       This cause comes before the Court on the parties’ Joint Motions for Approval of

Settlement. (Doc. No. 22, 25). In these motions, the parties ask the Court to review their

settlement of Plaintiff’s Fair Labor Standards Act claim. Having reviewed the settlement

agreement and upon due consideration of the motion and the record in this case, the Court finds

that the settlement agreement in this case is a fair and reasonable resolution of bona fide dispute

over Fair Labor Standards Act provisions.

       Accordingly, it is ORDERED AND ADJUDGED that the motions (Doc. No. 22, 25) are

GRANTED. The case is DISMISSED WITH PREJUDICE, and the Clerk is directed to

CLOSE this case.

       DONE AND ORDERED at Tampa, Florida, this 25th day of November, 2019.




Copies to: Counsel of Record
